Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 1 of 7
Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 2 of 7
Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 3 of 7
Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 4 of 7
Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 5 of 7
                         Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 6 of 7

CDCR                                                                INCIDENT REPORT PACKAGE                                            PAGE:    18
REPORT NO.                                                                                                                        PROCESSED: 10/02/2020 12:42
                                                          INCIDENT LOG NUMBER:                                                    REQUESTOR: E. Laird

                                                                            STAFF NARRATIVE

                              STAFF NAME: Mctaggart, K                                                        NARRATIVE TYPE: Initial Report
                           CREATED DATE: 08/27/2020                                                              CREATED TIME: 14:48:20

                                                                              NARRATIVE

  On Thursday, August 27, 2020, at approximately 0824 hours, while performing my duties as A PROGRAM SGT EOP in the Facility A Building 5 Officer's Office,
  inmate          (                 ) was called to the Officer's podium by Correctional Officer R. Cook and was notified he was removed from the Facility A
  Building 5 second watch porter position. Without giving Correctional Officer R. Cook an opportunity to explain why he was removed, inmate           walked
  towards C-Section dayroom and became disruptive by clenching his fists, pacing back and forth, jumping up and down near the tables in C-Section dayroom, and
  yelling obscenities such as, "Fuck you bitches! Fuck you Niggas! You ain't shit! You're racist!"

  I heard Officer I. Beckham give inmate           a direct order to return to his assigned cell. Inmate        did not comply and yelled, "Fuck you! I ain't locking
  up!" Officer I. Beckham notified Officer S. Wong to recall all inmates. I heard Officer S. Wong give an order via the Public Address System for all inmates to
  return to their assigned cell. All inmates complied with orders with the exception of inmate           Inmate         continued to pace back and forth with his fists
  clenched and yelling obscenities.

  While looking through the door in the Officer's Office, I observed Officer S. Medina approach inmate             and gave him a verbal order to submit to handcuffs.
  Suddenly, inmate          fell to the ground in a seated position. Officer S. Medina gave additional orders for inmate          to submit to handcuffs and
  simultaneously grabbed inmate             right wrist with his right hand in an attempt to secure inmate          hand behind his back. Without provocation, inmate
          pulled his arm away from Officer Medina's grasp and spun his body towards Officer Medina. Inmate                continued yelling obscenities such as, "Fuck
  you! Black Lives Matter!" I overheard multiple Officer's give verbal orders for inmate          to stop resisting and submit to handcuffs. Inmate          was now
  on his stomach; however, he refused to comply with orders and began thrashing his body from side to side and pulling his hands away from his back and
  attempting to place them under his stomach to avoid being secured in handcuffs.

  I responded from the Facility A Building 5 Officer's Office and utilized my institutional radio to call for a Code 1 response due to a resistive inmate in Facility A
  Building 5. I approached inmate           and gave a verbal order for him to stop resisting. Inmate             continued resisting by pulling his arms away from staff
  and attempting to secure his hands under his body. I immediately used physical force by grabbing inmate                   left forearm with my left hand and used my
  physical strength to place his left hand behind his back. Officer Cook simultaneously grabbed inmate               left arm and used physical strength to force inmate
          hand behind his back. Due to my focus on securing inmate               arm behind his back, I did not see Officer Cook's hand placement. Once inmate
          left hand was secured behind his back, Officer Medina secured his left wrist in handcuffs. Inmate                right wrist was already secured in handcuffs;
  however, due to my focus on inmate             left arm, I was unable to see when or who applied the handcuff.

  After secured in handcuffs, inmate         stopped resisting, remained in the prone position, and continuously yelled, "I can't breath! Your knee is in my neck!" I
  observed Officer Cook maintain control of inmate          by placing his hands on inmate         left shoulder and apply downward pressure. At no time, did I
  observe any officer place their knee on inmate         neck. Officer Medina assisted inmate          to a seated position.

  Inmate           was assisted back to the prone position and Officer Cook secured inmate                in leg restraints. Inmate            was yelling obscenities again.
  Responding Officer E. Brazil took control of inmate              left side and C. Winkler took control of inmate            right side. I instructed Officer's Brazil and
  Winkler to escort inmate            to Facility A Clinic for a medical evaluation. Officer's Brazil and Winkler assisted inmate             to his feet and escorted
  out of Facility A Building 5. I resumed my duties as A PROGRAM SGT EOP.

   K. Mctaggart                                                                                                      DATE: 08/27/2020
  STAFF SIGNATURE

                                                                                                                   PERNR: 94706
                                            BADGE #: 85546

                          NARRATIVE REVIEWED: Yes                                                REVIEWED BY STAFF: Quiring, J
                                  REVIEWED DATE: 08/27/2020                                           REVIEWED TIME: 16:15:21
                        Case 4:94-cv-02307-CW Document 3156-15 Filed 11/17/20 Page 7 of 7

CDCR                                                              INCIDENT REPORT PACKAGE                                        PAGE:    19
REPORT NO.                                                                                                                  PROCESSED: 10/02/2020 12:42
                                                       INCIDENT LOG NUMBER:                                                 REQUESTOR: E. Laird

                                                                         STAFF NARRATIVE

                             STAFF NAME: Mctaggart, K                                                    NARRATIVE TYPE: Supplemental Report
                         CREATED DATE: 09/02/2020                                                           CREATED TIME: 09:21:16

                                                                           NARRATIVE

  Q1. Did you observe inmate            resisting again after being placed in handcuffs?
  A1. No, after inmate           was assisted to the prone position I responded to the outside front of Building 5 to turn off the audible alarm. After returning to the
  incident location in Building 5 Dayroom, inmate           was assisted back to the prone position and Officer Cook applied the leg restraints. Due to my location in
  front of the Officer's podium and responding staff blocking my view, I was unable to see if inmate           resisted while applying leg restraints.

   K. Mctaggart                                                                                                 DATE: 09/02/2020
  STAFF SIGNATURE

                                                                                                              PERNR: 94706
                                          BADGE #: 85546

                         NARRATIVE REVIEWED: Yes                                             REVIEWED BY STAFF: Quiring, J
                                 REVIEWED DATE: 09/02/2020                                        REVIEWED TIME: 09:41:42


                             STAFF NAME: Orr, F                                                          NARRATIVE TYPE: Initial Report
                         CREATED DATE: 08/27/2020                                                           CREATED TIME: 12:40:12

                                                                           NARRATIVE

  On Thursday , August 27, 2020 at approximately 0824 hours, while performing my duties as A-Facility Clinic Officer, I heard a radio transmission for a code 1
  response for a resistive inmate. I retrieved a wheelchair from the clinic and responded toward building 5 meeting several escorting officers and a resistive inmate
                              on the track nearest the EOP center. Inmate            was assisted to his feet and placed in the wheelchair without resistance by many
  escorting officers. I pushed inmate          to the clinic for a CDCR 7219 Medical Evaluation. Once Licensed Vocational Nurse (LVN) Baguinon completed the
  Medical Evaluation I escorted inmate           to A-Facility Program Office. Officer Winkler assisted inmate         from the wheelchair and I returned to the clinic
  without further incident.

   F. Orr                                                                                                       DATE: 08/27/2020
  STAFF SIGNATURE

                                                                                                              PERNR: 56462
                                          BADGE #: 70005

                         NARRATIVE REVIEWED: Yes                                             REVIEWED BY STAFF: Clays, D
                                 REVIEWED DATE: 08/27/2020                                        REVIEWED TIME: 13:46:26
